 Case 24-04164-eg       Doc 6    Filed 12/27/24 Entered 12/27/24 13:28:53            Desc Main
                                  Document     Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA


 In re
                                                              Chapter 7
 Bennettech LLC,                                              Case No. 24-04164-eg


                                          Debtor

                           Motion in Support of Pro Hac Vice Application

       The undersigned local counsel hereby moves, together with the attached Application and
Affidavit, that Peter J. Haley be admitted pro hac vice in the above-captioned case as associate
counsel. As local counsel, I understand that:
1.     I will personally sign and include my District of South Carolina federal bar attorney
       identification number on each pleading, motion, discovery procedure, or other document
       that I serve or file in this court; and
2.     All pleadings and other documents that I file in this case will contain my name, firm
       name, address, and phone number and those of my associate counsel admitted pro hac
       vice; and
3.     Service of all pleadings and notices as required shall be sufficient if served upon me, and
       it is my responsibility to serve my associate counsel admitted pro hac vice; and
4.     Unless excused by the court, I will be present at all pretrial conferences, hearings, and
       trials and may attend discovery proceedings. I will be prepared to actively participate if
       necessary.
5.     Certification of Consultation (Local Civil Rule 7.02):
                Prior to filing this Motion, I conferred with opposing counsel who has indicated
                the following position as to this Motion: will likely oppose; does not intend
                to oppose
                Prior to filing this Motion, I attempted to confer with opposing counsel but was
                unable to do so for the following reason(s):
                __________________________________________________________________
                __________________________________________________________________
                No duty of consultation is required because the opposing party is proceeding pro
                se.

                                 /s/ Jody A. Bedenbaugh
                                 Jody A. Bedenbaugh
                                 Federal Bar No. 9210



4866-9438-6398 v.2
 Case 24-04164-eg    Doc 6   Filed 12/27/24 Entered 12/27/24 13:28:53       Desc Main
                              Document     Page 2 of 2



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                             Local Counsel for Bitmain Technologies Georgia Limited




4866-9438-6398 v.2
